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            1    Dean T. Kirby, Jr. 090114
                 Roberta S. Robinson 099035
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            3    San Diego, California 92101-5393
                 Telephone: (619) 685-4000
            4    Facsimile: (619) 685-4004

            5    Attorneys for Creditor
                 Hall Mortgage Fund, LP
            6

            7                         UNITED STATES BANKRUPTCY COURT

            8                          EASTERN DISTRICT OF CALIFORNIA

            9                                  SACRAMENTO DIVISION

           10    In re                                        Case No.     19-21640
           11    DEBORA LEIGH                                 Chapter 13
                 MILLER - ZURANICH
           12                                                 NOTICE OF APPEARANCE, REQUEST
                                     Debtor.                  FOR NOTICE, AND AMENDMENT TO
           13                                                 MAILING LIST
           14

           15            PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy
           16    Procedure 9010(b) Kirby & McGuinn, A P.C., hereby enters its appearance in the
           17    above-entitled bankruptcy case on behalf of Creditor, Hall Mortgage Fund, LP, and:
           18            1.   Requests that all notices, papers and orders filed herein and such
           19    telephonic or other notice as is required to be given with respect to ex parte hearing,
           20    be sent and given to each of the addresses set forth below. This request specifically
           21    includes proposed plans and disclosure statements pursuant to Federal Rule of
           22    Bankruptcy Procedure 3017(a). In the event any order is later entered regulating
           23    notice, this request is intended as a request to receive notice to the maximum extent
           24    permitted under such order as to those parties requesting such notice.
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                                               NOTICE OF APPEARANCE
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            1           2.     Requests that any list of creditors or other list maintained for the purpose

            2 of giving notice of proceedings herein be amended to include, if it does not presently

            3 include, the following names and addresses:

            4                         Dean T. Kirby, Jr.
                                      KIRBY & MCGUINN, A P.C.
            5                         707 Broadway, Ste 1750
                                      San Diego, California 92101
            6
                        3.     By making this appearance, and filing any other notice, pleading or paper
            7
                 herein, the appearing party does not intend to waive: (i) any right to have final orders
            8
                 entered only after de novo review by the United States District Court; (ii) any right to
            9
                 trial by jury, (iii) any right to seek withdrawal of the reference of the bankruptcy case,
           10
                 or any part thereof; and (iv) any other right, claim, action or entitlement.
           11

           12
                  DATE: July 17, 2019                      KIRBY & McGUINN, A P.C.
           13
           14
                                                           By: /s/Dean T. Kirby, Jr.
           15                                              Dean T. Kirby, Jr.
                                                           Attorneys for Creditor
           16                                              Hall Mortgage Fund, LP

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                                               NOTICE OF APPEARANCE
